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                           UNITED STATES DISTRICT COURT

                           MIDDLE DISTRICT OF LOUISIANA


PRESS ROBINSON, ET AL                                            CIVIL ACTION

VERSUS
                                                                 NO. 22-211-SDD-SDJ
KYLE ARDOIN, ET AL

                                   CONSOLIDATED WITH

EDWARD GALMON, SR., ET AL                                        CIVIL ACTION

VERSUS
                                                                 NO. 22-214-SDD-SDJ
KYLE ARDOIN, ET AL


                                            ORDER


       At the parties’ request, a video status conference was held on December 21, 2023,

regarding the schedule and submissions in advance of trial.


       PRESENT:       Stuart C. Naifeh
                      Sara Rohani
                      Alora Thomas-Lundborg
                      Amitav Chakraborty
                      Sarah Brannon
                      Counsel for Plaintiffs Press Robinson, Edgar Cage, Dorothy Nairne,
                      Edwin Rene Soule, Alice Washington, Clee Earnest Lowe, Davante
                      Lewis, Martha Davis, Ambrose Sims, National Association for the
                      Advancement of Colored People Louisiana State Conference, and Power
                      Coalition for Equity and Justice

                      Jacob Shelly
                      Daniel Cohen
                      Counsel for Consolidated Plaintiffs Edward Galmon, Sr., Ciara Hart,
                      Norris Henderson, and Tramelle Howard




T: 00:45
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                       Cassie Holt
                       Alyssa Riggins
                       John Conine, Jr.
                       Counsel for Defendant Kyle Ardoin

                       Patrick T. Lewis
                       Michael Mengis
                       Counsel for Intervenor Defendants Clay Schexnayder and
                       Patrick Page Cortez

                       Brennan Bowen
                       Amanda LaGroue
                       Counsel for Intervenor Defendant State of Louisiana- Attorney General
                       Jeff Landry

                       Stephen Irving
                       Counsel for Movant Louisiana Legislative Black Caucus


       The parties had largely agreed on pre-trial schedules for both eventualities—trial beginning

February 5, 2024, or March 25, 2024. (See Minute Entry, R. Doc. 315). They presented the Court

with the primary remaining issue: whether Plaintiffs can submit revised maps, and whether such a

submission would necessarily trigger the March trial date. The Court heard considerations from

all parties and, after consultation with the District Judge, determined that Plaintiffs may submit

new maps for the February trial date. Because Plaintiffs will produce new maps tomorrow, and in

order to allow Defendants time to evaluate those new maps, pre-trial motions may be filed 21 days

before the February trial date, rather than the previously ordered 30 days.

       The Court instructed the parties to submit a joint motion to adopt scheduling order that

incorporates the above. If any disagreements remain, the parties should set out their positions

clearly and concisely for the Court’s consideration.

       Signed in Baton Rouge, Louisiana, on December 21, 2023.



                                               S
                                              SCOTT D. JOHNSON
T: 00:45                                      UNITED STATES MAGISTRATE JUDGE
